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                                                                        FILED: August 9, 2022


                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                          ___________________

                                                No. 21-1756
                                         (3:16-cv-00044-NKM-JCH)
                                           ___________________

        DAMIAN STINNIE; MELISSA ADAMS; ADRAINNE JOHNSON; WILLIEST
        BANDY; BRIANNA MORGAN, individually, and on behalf of all others
        similarly situated

                       Plaintiffs - Appellants

        v.

        RICHARD D. HOLCOMB, in his official capacity as the Commissioner of the
        Virginia Department of Motor Vehicles

                       Defendant - Appellee

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        AMERICAN CIVIL LIBERTIES UNION OF VIRGINIA, ET AL

                       Amicus Supporting Appellant

        INSTITUTE FOR JUSTICE

                       Amicus Supporting Rehearing Petition
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                                       ___________________

                                            ORDER
                                       ___________________

              A majority of judges in regular active service and not disqualified having

        voted in a requested poll of the court to grant the petition for rehearing en banc,

              IT IS ORDERED that rehearing en banc is granted.

              The parties and any amici curiae shall file 16 additional paper copies of their

        briefs and appendices previously filed in this case within 10 days. Copies of amici

        briefs relating to a petition for rehearing or rehearing en banc are not required. The

        parties may move, or the court may sua sponte order, the filing of supplemental en

        banc briefs pursuant to Local Rule 35(d).

                                                For the Court

                                                /s/ Patricia S. Connor, Clerk
